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                                                       Wednesday, 21 September, 2022 04:08:25 PM
                                                                      Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF ILLINOIS

____________________________________
                                    )
                                    )
SHIRLEY CHAN,                       )
                                    )
          Plaintiff,                )                          22-2200
                                                      Case No. ____________
                                    )
TARGET CORPORATION and              )
JOHN DOE,                           )
                                    )
          Defendants.               )
                                    )
____________________________________)


                                   COMPLAINT

      COMES NOW Shirley Chan, pro se, Plaintiff in the above-captioned action,

and files this complaint against TARGET CORPORATION and JOHN DOE,

Defendants, and in support states as follows:

FACTS

      1.     Plaintiff Shirley Chan is a resident of the State of Illinois.

      2.     Defendant TARGET CORPORATION (hereinafter “Target”) is a

foreign corporation authorized to transact business in the State of Illinois, with a

Target store located in the Hoffman Estates, Illinois.

      3.     Defendant JOHN DOE is an employee of Target who was working at

Target on September 17, 2020, and whose tortious acts and/or omissions may have
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caused and/or contributed to the injuries complained of in this Complaint.

However, despite diligence attempts by Plaintiff, the identity of JOHN DOE is

currently unknown to Plaintiff. The identity of JOHN DOE will be ascertained

through discovery of this matter.

       4.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 in that the

claims alleged herein arise under the laws of the United States, and by 28 U.S.C. § 1332

because Plaintiff and Defendant are entirely diverse and the amount in controversy

exceeds $75,000.

       5.     This court has personal jurisdiction over Target because Target regularly

transacts business within the State of Illinois.

       6.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because “a

substantial part of the events or omissions giving rise to the claim” occurred in Illinois.

       7.     On September 17, 2020, Defendant Target owned and operated a

Target store located in Schaumberg, Illinois.

       8.     On September 17, 2020, Plaintiff Shirley Chan was a field engineer

employed full-time by ProAutomated of 100 Lake Drive, Ste 205, Newark,

Delaware 19702.

       9.     On September 17, 2020, Plaintiff Chan was assigned by

ProAutomated to work in a subcontractor role for a different company called

Acuity Brands Lighting, One Lithonia Way, Conyers, GA 30012.
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      10.    On September 17, 2020, Acuity Brands Lighting assigned Chan to

visit the Target store in Hoffman Estates, Illinois, to perform a consultation about

work that was to be performed in the future.

      11.    On September 17, 2020, Chan was surveying the roof at the Target

Store when she began descending the stairs into the electrical room.

      12.    The stairs between the roof and the electrical room were narrow,

poorly lit, and extremely hazardous.

      13.    Target employee John Doe was closely supervising the work that was

being performed by Plaintiff Chan on September 17, 2020.

      14.     At all relevant times, Plaintiff Chan exercised reasonable care for her

own safety. However, despite her exercise of reasonable and due care, Plaintiff

Chan was injured by the negligence of the Defendants.

      15.    At all relevant times, Defendant Target owed a duty of reasonable

care to Plaintiff to keep its premises free from hazards for workers such as Plaintiff

Chan, as well as ensure that its employees or agents (such as Defendant JOHN

DOE) operate safely, keep a proper lookout for hazards, and do not negligently

distract workers while attempting to navigate dangerous stairs.

      16.    At all relevant times, Defendant Target negligently failed to maintain

the stairs from the roof to the electrical room in a safe manner.
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        17.    At all relevant times, Defendant Target negligently failed to warn

Plaintiff Chan of the hazards presented by the stairs from the roof to the electrical

room.

        18.    At all relevant times, Defendants Target and John Doe failed to

conduct their operations in the above-referenced Hoffman Estates Target store in a

safe manner and failed to exercise ordinary care.

        19.    At all relevant times, John Doe was an employee and/or agent of

Defendant Target.

        20.    At all relevant times, Defendant Target negligently failed to supervise

and/or monitor the agent and/or employee involved in the incident, failed to make

sure that the stairs into the electrical room were maintained in a safe manner, failed

to monitor safety conditions, failed to make sure that he was not distracting

workers, and failed to warn Plaintiff of the dangers posed by the premises.

        21.    At all times relevant, Defendant Target negligently hired, trained,

retained and/or supervised Defendant John Doe, the employee/agent who districted

Plaintiff Shirley Chan while she was climbing down the stairs on September 17,

2022.

        22.    Defendant Target is directly liable for its own above-described

malfeasance, and it is vicariously liable for the negligence acts of its

agent/employee, Defendant John Doe.
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      23.      As a direct and proximate result of the negligent acts of Defendant

Target and Defendant John Doe, Plaintiff Chan suffered serious and significant

injuries and damages, including past and future medical expenses, past and future

physical pain and suffering, and disability.

      24.      Plaintiff Chan has incurred and will continue to incur medical

expenses and special damages in an amount to be proven at trial as a direct result

of her injuries negligently caused by Defendants, for which she is entitled to

recover compensation from Defendants.

      25.      Plaintiff Chan has suffered and will continue to suffer past, present

and future physical pain and suffering as a direct result of her injuries negligently

caused by Defendants, for which she is entitled to recover general damages from

the Defendants in an amount to be proven at trial.

      WHEREFORE, Plaintiff requests that she be given the following relief:

      (a) That Plaintiff Chan be awarded damages to compensate her for her

            physical, mental, and emotional pain and suffering (past, present, and

            future) proximately caused by Defendants’ above-described negligence,

            as determined by a jury;

      (b) That Plaintiff Chan be awarded damages to compensate her for her

            medical and other necessary expenses which were incurred, and which
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          will be incurred in the future, as a proximate result of Defendants’ above-

          described negligence, which amount shall be specifically proved at trial;

      (c) That Plaintiff be awarded punitive damages; and

      (d) That Plaintiff Chan be granted such further relief as the Court deems proper.



JURY TRIAL DEMANDED


Respectfully submitted this 19th day of September, 2022




                                 ___/s/ Shirley Chan____________________
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